Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 1 of 66

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 19-22908-Civ-COOKE/GOODMAN

QUEENS HOSPITALITY CORP.,
a Florida corporation,

Plaintiff,
VS.

BREAKFAST BITCH, LLC, a
California limited liability company

Defendant.
/
AMENDED COMPLAINT

Plaintiff, Queens Hospitality Corp., (’Plaintiff’ or “Queens”), by and through its

 

undersigned attorneys, for its Complaint against defendant Breakfast Bitch, LLC
("Defendant” or “Breakfast”), alleges, on knowledge as to its own actions, and otherwise
upon information and belief, as follows:
PRELIMINARY STATEMENT

1, This is an action for infringement of Plaintiff's famous, federally-registered
Trademarks, as defined herein, under Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1),
for unfair competition and false designation of origin under Section 43(a) of the Lanham Act,
15 U.S.C. § 1125(a), and for dilution under Section 43(c) of the Lanham Act, 15 U.S.C. §
1125(c), all arising from the Defendant’s unauthorized use of the Trademarks in connection
with the marketing, advertising, promotion, and operation of Defendant’s restaurant,

Breakfast Bitch, and related goods and services.

2. Plaintiff seeks injunctive and monetary relief.
JURISDICTION
3. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1338, in

that this is a civil action arising out of a claim under the Lanham Act.

4, This Court has personal jurisdiction over the Defendant pursuant to the Florida
long-arm statute, which authorizes this Court to exercise specific jurisdiction under Fla. Stat.
§ 48.193(1).
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 2 of 66

5. Section 48.193(1)(a)(2) provides that a nonresident defendant is subject to
personal jurisdiction in Florida “for any cause of action arising from ... [c]Jommitting a
tortious act within [Florida].” Fla. Stat. § 48.193(1)(a)(2).

6. In the present case Florida’s long arm statute requirement is fulfilled because
per Fla. Statute § 48.193(1)(a)(2) a “defendant committing tortious acts outside the state that
cause injury in Florida,” satisfies the requirement. Posner v. Essex Ins. Co., 178 F.3d 1209,
1217 (11th Cir. 1999). Injury from trademark infringement occurs in the state where the
trademark owner resides. See Panavision Int'l, L.P. v. Toeppen, 141 F.3d 1316, 1322 n. 2 (9th
Cir. 1998).

7. Here, Plaintiff is a Florida corporation, and Defendant is infringing on the
trademarks of Plaintiff. Moreover, although not limited to the state of Florida, the injury is
most significant in the state where Plaintiff has its principal place of business.

8. Furthermore, the Court’s exercise of personal jurisdiction over a nonresident
defendant must comport with the Due Process Clause.

9. The test for determining whether exercising the Florida long-arm statute
comports with Due Process is three-fold. First, the defendant must have contacts related to or
giving rise to the plaintiffs cause of action. Second, the defendant must, through those
contacts, have purposefully availed itself of forum benefits. Third, the defendant’s contacts
with the forum must be such that it could reasonably anticipate being haled into court there.
Fraser v. Smith, 594 F.3d 842, 851 (11th Cir. 2010).

10. In the present case, Defendant came to Miami, Florida and researched
Plaintiff's restaurant, and in turn replicated Plaintiff's concept and appropriated its intellectual
property in the form of Defendant’s restaurant. Defendant traveled to the state of Florida and
consciously misappropriated intellectual property of a Florida corporation in order to gain a
benefit, an action which should have caused the Defendant to reasonably anticipate being
haled into a Florida court.

11. Moreover, because Defendant advertises and sells merchandise over the
internet, it has placed its products and services in the same stream of commerce as Plaintiff.
Their internet advertising and sales are more than just passive, and reach the same audience,
in Florida and throughout the United States, as Plaintiff. Given Defendant’s knowledge that

it is misappropriating the intellectual property of a Florida company, as well as the fact that
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 3 of 66

its marketing and sales interfere with Plaintiff's operations and target Plaintiff's consumers,
Defendant should reasonably anticipate having this action brought in Florida.

12. Finally, it does not offend the notions of fair play and substantial justice because
Defendant consciously misappropriated intellectual property from a business located in the
state of Florida.

13. | Defendant was put on notice several times that, in the event the Defendant did
not cease the use of Plaintiffs intellectual property, Plaintiff would pursue legal action.

14. Moreover, there is no prejudice to Defendant, in light of the fact that it has
already retained legal counsel in Florida and have begun defending this action.

VENUE

15. Venue is proper in this district under 28 U.S.C. § 1391(b)(2), in that a
substantial part of the events or omissions giving rise to the claim occurred in this district and
28 U.S.C. § 1391(b)(2), in that a substantial part of property that is the subject of the action is
situated in this district.

PARTIES

16. Plaintiff is a Florida corporation and has its principal place of business in
Miami-Dade County, Florida. Plaintiff is a hospitality company that owns several restaurant
concepts, including Bacon Bitch, and is nationally known for its edgy branding and food and
beverage concepts.

17. Upon information and belief, Defendant, is a limited liability company formed
under the laws of California, and has a restaurant location in San Diego, California and sells
its merchandise and advertises its services and goods throughout the United States. Upon
information and belief, Defendant’s principals are residents of California. Upon information
and belief, Defendant, owns a breakfast restaurant concept based on the same concept and

branding as Plaintiff.
FACTS

 

18. Plaintiff is the owner of Bacon Bitch, a restaurant located in Miami Beach,
Florida, which provides a unique twist on comfort food, offering a wide array of brunch style
options (“Bacon Bitch”).

19. Atleast as early as 2016, Plaintiff has owned and operated its restaurant under

the name “Bacon Bitch”.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 4 of 66

20. Plaintiff owns the federal Trademark registration for “Bacon Bitch”, namely
U.S. Registration No. 5666197 (“Bacon Bitch Registration”). See Exhibit A. The Bacon Bitch
Trademark has become incontestable within the meaning of Section 15 of the Lanham Act,
15 U.S.C. § 1065.

21. ‘In addition, Plaintiff has also applied and continuously used the Bacon Bitch
wordmark, U.S. Serial No. 88398062, in connection with its restaurant services and fast food
services (“Bacon Bitch Wordmark”). See Exhibit B. Plaintiff has used the Bacon Bitch
Wordmark in commerce throughout the United States continuously since at least as early as
2016 in connection with the marketing, advertising and operation of its restaurant, Bacon
Bitch, and related goods and services.

22. Plaintiff also owns trademarks for “Bitch Boutique”, U.S. Serial No. 88406814
and “Drunk Bitch”, U.S. Serial No. 88398127. See Composite Exhibit C. The Bacon Bitch
Registration, Bacon Bitch Wordmark, and all other trademarks and proprietary branding
elements belonging to Plaintiff are collectively referred to herein as the “Trademarks”,

23. Plaintiff has used the Bacon Bitch Registration and Bacon Bitch wordmark in
commerce throughout the United States continuously since at least as early as 2016 in
connection with the marketing, advertising and promotion of its restaurant and related
services.

24. Asaresult of its widespread, continuous, and exclusive use of the Trademarks
to identify its goods and services and Plaintiff as their source, Plaintiff owns valid and
subsisting federal statutory and common law rights to the Trademarks in addition to its federal
registration rights.

25. Plaintiffs Trademarks are distinctive to both the consuming public and
Plaintiff's trade.

26. Bacon Bitch has experienced dramatic success since its inception in 2016 and
is expanding throughout the United States through franchise opportunities and licensing
agreements.

27. Plaintiff has expended substantial time, money, and resources marketing,
advertising, and promoting its restaurant and related services using the Trademarks in its
online advertising, national press, merchandise, physical branding elements such as signs,

menus and more. During the period from 2016 to 2019 alone, Plaintiff has expended in excess
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 5 of 66

of Two Hundred and Fifty Thousand US dollars ($250,000.00) on the marketing, advertising,
and promotion of the restaurant and related businesses sold under the Trademarks and
various branding elements.

28.  Asaresult of Plaintiff's expenditures and efforts, the Trademarks have come to
signify the high quality of its restaurant and affiliated businesses designated by the
Trademarks, and acquired incalculable distinction, reputation, and goodwill, belonging
exclusively to Plaintiff.

29. __ Plaintiff's Trademarks have received significant unsolicited coverage in various
media, including national television shows, print magazines, and online articles. See Exhibit
D.

30. As a result of their distinctiveness and widespread use and promotion
throughout the United States, Plaintiffs Trademarks, including but not limited to the Bacon
Bitch Registration, are “famous trademark[s]” within the meaning of 15 U.S.C. 1125(c), and
became famous prior to the acts of the Defendant alleged herein.

31. Defendant was registered as a California limited liability company with the
California Secretary of State on May 22, 2019. See Exhibit E.

32. Defendant opened its restaurant, “Breakfast Bitch,” on July 13, 2019 in San
Diego, California, which utilizes the nearly identical and confusingly similar variations of
Plaintiff's Trademarks and other branding and advertising elements.

33. Without Plaintiffs authorization, Defendant adopted and began using the
Trademarks and other proprietary branding elements, or confusingly similar variations
thereof, including but not limited to the brand name “Breakfast Bitch” (collectively, the
“Infringing Trademarks”) in commerce throughout the United States.

34. The Infringing Trademarks adopted and used by Defendant are in some
instances identical but in all occasions confusingly similar to Plaintiff's Trademarks.

35. | There are decorative branding elements in Defendant’s restaurant that are an
exact copy of signage in Plaintiff's restaurant. See Exhibit F.

36. Defendant also uses the same “Welcome Bitches” greeting that Plaintiff, Bacon
Bitch is known for. See Exhibit G.

37. In one post on Plaintiff's website (“Bacon Bitch Website”), Plaintiff writes that
“Bacon Bitch seamlessly combines this comfort food staple with the highest quality
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 6 of 66

ingredients and freshly baked artisanal croissants for a truly delectable and one of a kind
meal.” See Exhibit H.

38. According to Defendant, Breakfast’s website (“Breakfast Bitch Website”),
which is operated from the internet domain www.eatbreakfastbitch.com, Defendant has
posted content, recipes, and branding that directly mimics that of Plaintiffs restaurant, Bacon
Bitch.

39. The Breakfast Bitch Website even noted Defendant’s inspiration for Breakfast
Bitch, writing that Breakfast Bitch was “inspired by one of the hippest spots in Miami.” See
Exhibit I.

40. Defendant then continues to take exact language from the Bacon Bitch
Website, “Breakfast Bitch seamlessly combines comfort food and make your own pancakes
at your ...” See Exhibit I.

41. Moreover, Defendant’s menu at Breakfast Bitch, as posted on the Breakfast
Bitch Website uses similar names and nearly identical recipes for its food and beverage items.
See Exhibit J.

42. Plaintiff, on its menu at Bacon Bitch, uses the following phrases to identify the
entrees it offers: (i) primary entrees are identified under the heading “Main Bitch,” (ii) side
items are identified under the heading “Side Bitch,” (iii) add-on items are identified under the
heading “Extra Bitch,” and (iv) alcoholic beverages are identified under the heading “Drunk
Bitch”, all of which are the proprietary intellectual property of Plaintiff. See Exhibit K.

43. In an attempt to pawn off the goodwill of Plaintiff's Trademarks and other
intellectual property, Defendant uses nearly identical branding elements on its menu, such as:
(4) primary entrees are identified under the heading “Main Bitch,” (ii) side items are identified
under the heading “Side Bitch,” (iii) add-on items are identified under the heading “Extra
Bitch,” and (iv) alcoholic beverages are identified under the heading “Tipsy Bitch.” See
Exhibit J.

44, Upon information and belief, Defendant or representatives thereof, visited
Bacon Bitch only months prior to commencing the promotion, advertising and operations of

its infringing concept, Breakfast Bitch.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 7 of 66

45. | Defendant’s acts are willful with the deliberate intent to trade on the goodwill
of Plaintiffs Trademarks, as well as its concept, marketing and branding and cause confusion
and deception in the marketplace.

46. Plaintiff also maintains a page for Bacon Bitch on the popular business review
website, yelp.com (“Yelp”).

47. Upon Defendant attempting to register their restaurant, Breakfast Bitch on
Yelp, the Yelp restaurant specialist, Santronya Smith, who was assigned to the registration
expressed concern that a page for this restaurant (Breakfast Bitch) was already maintained.

48. Defendant admitted to the Yelp representative, Santronya Smith that they had
recently gone to the restaurant in Miami and were opening a similar concept in San Diego.

49.  Asaresult of this actual confusion, the Yelp representative, directly contacted
Plaintiff to confirm if the Breakfast Bitch page was somehow related to Bacon Bitch or
otherwise affiliated with Plaintiff.

50. The Yelp representative’s confusion as to the source and origin of Breakfast
Bitch and its belief that Breakfast Bitch was affiliated with Bacon Bitch demonstrates that
actual consumer confusion exists. See Exhibit L.

51. In addition, consumers have inquired on Breakfast Bitch’s Instagram account
as to whether Breakfast Bitch is in some way related to Bacon Bitch. See Exhibit M.

52. | Defendant’s infringing acts as alleged herein have caused and are likely to
continue to cause confusion, mistake, and deception among the relevant consuming public as
to the source or origin of the Defendant’s restaurant and have and are likely to deceive the
relevant consuming public into believing, mistakenly, that Defendant’s restaurant originate
from, are associated or affiliated with, or otherwise authorized by Plaintiff.

53. Defendant has been engaged in the advertising, promotion, of its restaurant and
related merchandise using the Infringing Trademarks throughout the United States.

54. Both restaurants advertise nationally using social media, nationwide television
press, and online websites to attract consumers from all over the United States.

55. | Upon information and belief, the Defendant has created, marketed, advertised,
and promoted its restaurant and merchandise under the Infringing Trademarks. The two

restaurants are in the same industry, both being restaurants, cater to the same target audience,
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 8 of 66

a young demographic, that travels often and is intrigued by the edgy nature of the marketing
and provocative names of its menu items.

56. — PlaintifP's counsel sent a cease and desist letter to Defendant objecting to its use
of the Infringing Trademarks on two occasions, March 27, 2019 and April 29, 2019. |

57. | Defendant did respond to Plaintiffs letter but did not cease the use of the
Plaintiff's Trademarks or confusingly similar variations thereof.

58. _Defendant’s acts are causing, and unless restrained, will continue to cause
damage and immediate irreparable harm to Plaintiff and to its valuable reputation and
goodwill with the consuming public.

COUNT I- FEDERAL TRADEMARK INFRINGEMENT

59. Plaintiff repeats and realleges paragraphs 1 through 58 hereof, as if fully set
forth herein.

60. Defendant’s unauthorized use in commerce of the Infringing Trademarks as
alleged herein is deceiving consumers as to the origin, source, sponsorship, or affiliation of
Defendant’s restaurant and merchandise and is causing consumers to believe, contrary to fact,
that Defendant’s business is authorized, endorsed, or sponsored by Plaintiff, or that
Defendant is in some way affiliated with or sponsored by Plaintiff. Defendant’s conduct
therefore constitutes trademark infringement in violation of Section 32(1) of the Lanham Act,
15 U.S.C. § 1114(1). |

61. | Upon information and belief, Defendant has committed the foregoing acts of
infringement with full knowledge of Plaintiff's prior rights in the Trademarks and with the
willful intent to cause confusion and trade on Plaintiff's goodwill.

62. Defendant’s conduct is causing immediate and irreparable harm and injury to
Plaintiff, and to its goodwill and reputation, and will continue to both damage Plaintiff and
confuse the public unless enjoined by this court.

WHEREFORE, Plaintiff is entitled to, among other relief, injunctive relief and an
award of actual damages, Defendant’s profits, enhanced damages and profits, reasonable
attorneys’ fees, and costs of the action under 15 U.S.C. § 1114, 15 U.S.C. §§ 1116, 1117,
together with prejudgment and post-judgment interest and other such relief as this Court
deems just and proper and requests his Court to enter judgement in favor of Plaintiff, as further

set forth below.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 9 of 66

COUNT II- FEDERAL UNFAIR COMPETITION

63. Plaintiff repeats and realleges paragraphs 1 through 58 hereof, as if fully set
forth herein.

64. Defendant’s unauthorized use in commerce of the Infringing Trademarks as
alleged herein is likely to deceive consumers as to the origin, source, sponsorship, or affiliation
of Defendant’s goods and services and is likely to cause consumers to believe, contrary to fact,
that Defendant’s goods and services are sold, authorized, endorsed, or sponsored by Plaintiff,
or that Defendant is in some way affiliated with or sponsored by Plaintiff.

65. Defendant’s unauthorized use in commerce of the Infringing Trademarks as
well as its intentional copying of the Bacon Bitch concept and the branding elements
associated therewith, including but not limited to the trade names “main bitch” “side bitch”
“extra bitch”, the use of nearly identical, and in some instances identical recipes, identical
signage and other branding elements, as alleged herein, constitutes use in commerce of a
word, term, name, symbol or combination thereof, a false designation of origin, false or
misleading description of facts, or false or misleading representations of fact.

66. Upon information and belief, Defendant’s conduct as alleged herein is willful
and is intended to and is likely to cause confusion, mistake, or deception as to the affiliation,
connection, or association of Defendant’s Breakfast Bitch restaurant with Plaintiffs Bacon
Bitch restaurant.

67. | Defendant’s conduct as alleged herein constitutes unfair competition in
violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

68. Defendant’s conduct as alleged herein is causing immediate and irreparable
harm and injury to Plaintiff, and to its goodwill and reputation, and will continue to both
damage Plaintiff and confuse the public unless enjoined by this court.

WHEREFORE, Plaintiff is entitled to, among other relief, injunctive relief and an
award of actual damages, Defendant’s profits, enhanced damages and profits, reasonable
attorneys’ fees, and costs of the action under 15 U.S.C. § 1125, 15 U.S.C. §§ 1116, 1117,
together with prejudgment and post-judgment interest and other such relief as this Court
deems just and proper and requests his Court to enter judgement in favor of Plaintiff, as further

set forth below.
COUNT III- FEDERAL TRADEMARK DILUTION
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 10 of 66

69. Plaintiff repeats and realleges paragraphs 1 through 58 hereof, as if fully set
forth herein.

70. ‘Plaintiff's Trademarks are distinctive and “famous mark[s]”, within the
meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

71. Plaintiffs Trademarks became distinctive and famous prior to the Defendant’s
acts as alleged herein and continue to gain nationwide recognition.

72. Defendant’s acts as alleged herein have diluted and will, unless enjoined,
continue to dilute and are likely to dilute the distinctive quality of Plaintiffs famous
Trademarks.

73. Defendant’s acts as alleged herein have tarnished and will, unless enjoined,
continue to tarnish, and are likely to tarnish Plaintiff's Trademarks by undermining and
damaging the valuable goodwill associated therewith.

74. _Defendant’s acts as alleged herein are intentional and willful in violation of
Section 43(c)(1) of the Lanham Act, and have already caused Plaintiff irreparable damage
and will, unless enjoined, continue to so damage Plaintiff, which has no adequate remedy at
law.

WHEREFORE, Plaintiff is entitled to, among other relief, an award of actual
damages, Defendant’s profits, enhanced damages and profits, reasonable attorneys’ fees, and
costs of the action under U.S.C. § 1125(c), 15 U.S.C. 15 U.S.C. §§ 1116, 1117, together with
prejudgment and post-judgment interest and other such relief as this Court deems just and
proper and requests his Court to enter judgement in favor of Plaintiff, as further set forth
below.

CONCLUSION AND REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests judgment against Defendant as follows:

75. That Defendant has violated 15 U.S.C. § 1114, 15 U.S.C. § 1125(a); and 15
U.S.C. § 1125(c).

76. Granting an injunction and permanently enjoining the Defendant, its
employees, agents, officers, directors, attorneys, successors, affiliates, subsidiaries, and
assigns, and all of those in active concert and participation with any of the foregoing persons
and entities who receive actual notice of the Court’s order by personal service or otherwise

from:

10
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 11 of 66

a. marketing, advertising, promoting, or authorizing any third party to market,
advertise or promote Breakfast Bitch bearing the Trademarks or any identifying
marketing or branding materials that were copied from Plaintiff, or any other
mark that is a confusingly similar variation, or colorable imitation of Plaintiff's
Trademarks.

b. engaging in any activity that infringes Plaintiff's rights in its Trademarks;

c. engaging in any activity constituting unfair competition with Plaintiff,

d. engaging in any activity that is likely to dilute the distinctiveness of Plaintiff's
Trademarks.

e. making or displaying any statement, representation, or depiction that is likely to
lead the public or the trade to believe that 4) Defendant’s restaurant is in any
manner approved, endorsed, licensed, sponsored, authorized, or franchised by
or associated, affiliated, or otherwise connected with Plaintiff or (ii) Plaintiff's
restaurants are in any manner approved, endorsed, licensed, sponsored,
authorized, or franchised by or associated, affiliated, or otherwise connected
with Defendant;

f. using or authorizing any third party to use [in connection with any business,
goods, or services] any false description, false representation, or false
designation of origin, or any marks, names, words, symbols, devices, or trade
dress that falsely associate such business, goods and/or services with Plaintiff or
tend to do so;

g. registering or applying to register any trademark, service mark, domain name,
trade name, or other source identifier or symbol of origin consisting of or
incorporating the Trademarks or any other mark that infringes or is likely to be
confused with Plaintiffs Marks, or any goods or services of Plaintiff, or Plaintiff
as their source; and

h. aiding, assisting, or abetting any other individual or entity in doing any act
prohibited by sub-paragraphs (a) through (g).

77. Granting such other and further relief as the Court may deem proper to prevent
the public and trade from deriving the false impression that any goods or services

manufactured, sold, distributed, licensed, marketed, advertised, promoted, or otherwise

11
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 12 of 66

offered or circulated by Defendant are in any way approved, endorsed, licensed, sponsored,
authorized, or franchised by or associated, affiliated, or otherwise connected with Plaintiff or
_ constitute or are connected with Plaintiff.

78. Directing Defendant to immediately cease all manufacturing of marketing
material, display, distribution, marketing, advertising, promotion, sale, offer for sale and/or
use of any and all packaging, labels, catalogs, shopping bags, menus, containers,
advertisements, signs, displays, and other materials that feature or bear any designation or.
mark incorporating the Infringing Trademarks, appropriated recipes and branding elements,
or any other mark that is a confusingly similar of Plaintiff's Trademarks.

79. Directing that Defendant recall and deliver up for destruction all merchandise,
advertisements, promotions, signs, displays, and related materials incorporating or bearing
the Infringing Trademarks or any other mark that is a confusingly similar to Plaintiff's.

80. Directing, pursuant to Section 35(a) of the Lanham Act (15 U.S.C. § 1116(a)),
Defendant to file with the court and serve upon Plaintiff's counsel within thirty (30) days after
service on Defendant of an injunction in this action, or such extended period as the Court
may direct, a report in writing under oath, setting forth in detail the manner and form in which
Defendant has complied therewith.

81. Awarding Plaintiff of its actual damages, in accordance with Section 35(a) of
the Lanham Act (15 U.S.C. § 1117(a)).

82. Directing that Defendant account to and pay over to Plaintiff all profits realized
by its wrongful acts in accordance with Section 35(a) of the Lanham Act (15 U.S.C. §
1117(a)), enhanced as appropriate to compensate Plaintiff for the damages caused thereby.

83. In the event that the court determines that the Defendant’s profits are
insufficient, that the Court grant an appropriate award, but in no event more than three times
the profits pursuant to 15 U.S.C. § 1117.

84. Declaring that this is an exceptional case pursuant to Section 35(a) of the
Lanham Act and awarding Plaintiff its costs and reasonable attorneys’ fees thereunder (15
U.S.C. § 1117(a)).

85. Awarding Plaintiff interest, including prejudgment and post-judgment interest,
on the foregoing sums.

86. | Awarding such other and further relief as the Court deems just and proper.

12
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 13 of 66

87. Plaintiff demands a jury trial.
Dated: September 6, 2019
Miami-Dade, Florida

13

Respéctfully submj

Brenda J. Schemly
iSchino & Schamy, PLLC

Attorneys for Plaintiff

Florida Bar No. 102829

4770 Biscayne Blvd. Suite 1280
Miami, Florida 33137
Telephone: (786) 581-2542
brenda@dsmiami.com

 
Case 1:19-cv-22908-MGC Documengis Hejy@ar > Docket 09/06/2019 Page 14 of 66

  

qawited States of Amp,

Gnited States Patent and Trademark Office lta

BACON BITCH

Reg. No. 5,666,197
Registered Jan. 29, 2019
Int. Cl.: 43

Service Mark

Principal Register

 

Director of the United States
Patent and Trademark Office

ZS

Viso, Christopher (UNITED STATES INDIVIDUAL)
860 Collins Avenue
Miami Beach, FLORIDA 33139

CLASS 43: Restaurant services; Fast-food restaurant services
FIRST USE 1-00-2017; INCOMMERCE 1-00-2017

The mark consists of the stylized wording "BACON BITCH" with the stylized image of a
strip of bacon located below the wording.

No claim is made to the exclusive right to use the following apart from the mark as shown:
"BACON"

SER. NO. 87-945 359, FILED 06-01-2018
    

Case 1:19-cv-22908-MGC Document 18 Entered o FLSB-SaBE, 09/0@12019 Page 15 of 66

Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Fri Sep 6 03:32:26 EDT 2019

ay | Please logout when y you are done to release system resources allocated for you.

 

 

Set Liste | |OR YP torecors: ___' Record 1 out of 2

 

| TTAB Status

 

| eee

 

( Use the "Back" button of the Internet Browser to return to
TESS)

BACON BITCH

Word Mark BACON BITCH

Goods and IC 043. US 100 101. G & S: Restaurant and bar services. FIRST USE: 20161101. FIRST USE IN
Services COMMERCE: 20161101

Standard

Characters Claimed
Mark Drawing Code (4) STANDARD CHARACTER MARK
Serial Number 88398062

Filing Date April 23, 2019

Current Basis 1A

Original Filing 1A

Basis

Published for August 27, 2019

Opposition

Owner (APPLICANT) QUEENS HOSPITALITY IP HOLDINGS LLC LIMITED LIABILITY COMPANY DELAWARE

860 COLLINS AVE. MIAMI BEACH FLORIDA 33139
Attorney of Record Christopher DiSchino

Disclaimer NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "BACON" APART FROM THE MARK AS
SHOWN

Type of Mark SERVICE MARK

Register PRINCIPAL

Live/Dead Indicator LIVE

 

 

 

elas

 

|-HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY
   

Case 1:19-cv-22908-MGC Document 18 Entered on FL! p SCANS 6/20 Page 16 of 66

United States Patent anc Trademark Office

 

Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Fri Sep 6 03:32:26 EDT 2019

New User Eames (tina aeowse Gicr FSEARCH OG eal boo

"Please logout when y you are done to release system resources allocated for you.

   

 

 

St Listat:| OR "© torecor:, | Record 1 out of 2

 

| GE BAGUEell ( Use the "Back" button of the Internet Browser to return to

 

 

Word Mark BITCH BOUTIQUE

Goods and IC 025. US 022 039. G & S: Bandeau tops; Bathing suits; Bathing suits for men; Bikinis; Crop tops; Hats; Hoodies;

Services Leggings; Long-sleeved shirts; Shirts; Shirts and short-sleeved shirts; Shorts; Socks; Sweatpants; Swim wear; Swim
suits; T-shirts; Tank-tops; Tank tops; Ankle socks; Boxer shorts; Graphic T-shirts; Hooded sweat shirts; Short-
sleeved or long-sleeved t-shirts; Sweat shirts; Wrist bands as clothing. FIRST USE: 20180815. FIRST USE IN
COMMERCE: 20180815

Mark

Drawing (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS

Code

Design 01.15.25 - Coal ; Dust ; Light rays ; Liquids, spilling ; Pouring liquids ; Sand ; Spilling liquids
Search 26.17.13 - Letters or words underlined and/or overlined by one or more strokes or lines ; Overlined words or letters ;
Code Underlined words or letters

Serial

Number 88406814

Filing Date April 29, 2019

Current 1A

Basis

Original

Filing 1A

Basis

Published

for August 27, 2019

Opposition

Owner (APPLICANT) QUEENS HOSPITALITY IP HOLDINGS LLC LIMITED LIABILITY COMPANY FLORIDA 860 Collins
Ave. Miami Beach FLORIDA 33139

Attorney of

Record

Disclaimer NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "BOUTIQUE" APART FROM THE MARK AS SHOWN

Christopher DiSchino, Esq.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 17 of 66

Description The color(s) black, and fuchsia is/are claimed as a feature of the mark. The mark consists of the word "BITCH" all
of Mark capitalized in black which is placed with a black line underneath it and inside a fuchsia splash circle that has what
looks like fuchsia-colored paint dripping from it. Underneath this word is the word "BOUTIQUE" in black which is not

all capitalized.
Type of = TRADEMARK
Mark
Register PRINCIPAL
Live/Dead
Indicator LIVE

 

New User § STRUCTURED FF ree Form™l Seowse Dict
c J Next Doc

 

 

 

 

 

|-HOME [ SITE INDEX| SEARCH | eBUSINESS [| HELP | PRIVACY POLICY
Case 1:19-cv-22908-MGC Document18 Entered on FLSD Docket 09/06/2019 Page 18 of 66

United States Patent and Trademark Office

 

Home|Site Index| Search] FAQ| Glossary | Guides | Contacts | eBusiness |eBiz alerts|News |Help

Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Fri Sep 6 03:32:26 EDT 2019

ay "Please logout when y you are done to release system resources allocated for you.

     

: Start |

SS List At:' | OR “STP. torecord: | Record 1 out of 2

 

PRP reir

f[assicn status J

  

| ( Use the "Back" button of the Internet Browser to return to

TESS)

DRUNK BITCH

Word Mark DRUNK BITCH

Goods and IC 043. US 100 101. G & S: Bar services; Restaurant services. FIRST USE: 20171101. FIRST USE IN
Services COMMERCE: 20171101

Standard

Characters Claimed
Mark Drawing Code (4) STANDARD CHARACTER MARK
Serial Number 88398127

Filing Date April 23, 2019

Current Basis 1A

Original Filing 4A

Basis

Published for August 13, 2019

Opposition ;

Owner (APPLICANT) QUEENS HOSPITALITY IP HOLDINGS LLC LIMITED LIABILITY COMPANY DELAWARE

860 COLLINS AVE. MIAMI BEACH FLORIDA 33139
Attorney of Record Christopher DiSchino, Esq.
Type of Mark SERVICE MARK
Register PRINCIPAL
Live/Dead Indicator LIVE

 

 

 

NEW USER [STRUCTURED eae
eens Woe

 

 

|-HOME | SITE INDEX| SEARCH | eBUSINESS | HELP | PRIVACY POLICY
Case 1:19-cv-22908-MGC Document Eft IPAT, FLS@ Docket 09/06/2019 Page 19 of 66

o

  

This Trendy Little Bar In Miami Specializes In
Everything Profoundly Bacon

Rachael Heacock4 months ago

123 ;
Updated on April 24 @ 01:57 PM

   

mackxscott baconbitch

Bacon: America's candy; some might even go as far to say it's the official favorite food of the
Nation. And let's be honest, boozy drinks and chowing down on some crispy bacon - it doesn't
get more American than that. If you love bacon, you'll want to get a mouthful at this trendy

eatery in Miami that gets you tipsy while specializing in all things bacon.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 20 of 66

Bacon Bitch located in Miami Beach Florida combines the comfort food staple with a variety of
creative twists. From savory sandwiches on their "Main Bitch" menu to sweet "Side Bitch" treats
(both with those crispy bits of course), bacon becomes more than just a breakfast food - it

becomes a whole experience.

Bacon doesn't have to be served in a kitschy homestyle diner either; their entire space is as
trendy as it gets - perfect for your Insta-feed. The vibe feels like a high-end lounge, with tons of
cute feature spots, neon lights, and eclectic decor that ties the whole place together like the
perfect little bacon filled package. The entire theme is on point as a place for you and all of your

besties to be your best selves and get drunk.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 21 of 66

30 Bucket List Miami Restaurants You Need To
Try lf You Haven't Already

Jannely Espinal1 year ago

7.1K
Updated on January 04 @ 12:56 PM

 

lamusecafe | zakthebaker .

Whether you've lived in Miami for a decade or just moved, the magic city has a lot to offer in
terms of culinary experiences. Miami is the gateway to Latin American cuisine and Caribbean
food. Wherever you go, this city combines the best of European, Asian, and Latin cuisine. In
recent years, the food scene in Miami has grown tremendously and new restaurants are always

opening.

Restaurants are upping their game and offering something unique besides the menu. Miami
restaurants offer entertainment and unique flavors only locals know about. If you are from

Miami, you know that secret spot and alley that offers unique sandwiches and burgers.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 22 of 66

No matter if you are a tourist or a local, there are specific Miami restaurants that will make
you believe in heaven again. Whether you are on a budget or ready to spend your month's check,

there's a restaurant for everyone. This bucket list combines the best restaurants to enjoy a bite.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 23 of 66

Bacon Bitch

Where: 860 Collins Avenue // South Beach
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 24 of 66

@baconbitchmiami

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 25 of 66

Who would have thought South Beach had unique restaurants like Bacon Bitch? The name
is deceiving but the menu is incredible. It is located in the middle of the action and Art Deco
district. They serve unique bacon inspired sandwiches, salads, and treats. After all, bacon is

not just for breakfast.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 26 of 66

O sesh oO —
(

 

f (/searchy—

OM Bras

 

PLACE (/PLACE)

This Bacon-Centric Miami Brunch Spot Will Have You Coming
Back For More

Fun, casual, delicious...oh, and bacon.

 

Mariasol Vargas (/author/mariasolvargas)

    
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 27 of 66

@ SPOON oO
~

 

UNIVERSITY
(/searchy—

SHARE

Get more Spoon in your feed.

YouTube

 

'
i

| your@email.com Join

 

 

I'm a foodie, and | truly believe that every hour of the day is the perfect time for food. But if | had to pick
a favorite time to eat, I'd definitely choose brunch, because since the first day | tried Bacon Bitch

salads and croissants here every weekend morning, and | am not complaining. | mean, if you had a
toasty croissant filled with eggs and bacon in front of your face, would you be complaining?

obsession. Going to Bacon Bitch is an entire experience; from the food, to the service, it's not your
typical brunch place. They turn ordinary food into something amazing and convenient, which means
top-quality brunch, incredible and quick service, and leaving satisfied without having spent more than

$20 of your pocket money. Chaching.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 28 of 66

0 SPOON conbitch View Profil
() ; os =e

 

UNIVERSIT Bacon Bitch /search}y—
searcny

  

How's the Food? I'll Let You Decide.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 29 of 66

@ sheen oO —

 

Save 1 (/search}—

 

:
2

 

from Uploaded by user

AR RG ROE see eu RAE mS RA Ta A OE REE ARE DE SE EE OO SR SSF ESD) SC GREED OG RE FEY USE TE AGT RE A AEA HON Hr FT EDP GP LP EE OE EE ES UE EE OM SE

Mariasol Vargas
Food

The restaurant is called Bacon Bitch, but it goes way beyond your average bacon dishes. The main
menu consists of a variety of fresh, delicious croissants, with drool-worthy picks such as sausage gravy
for the meat lovers, hash browns for the breakfast fans, lobster if you want a little twist, bacon (a/lways

bacon), and even homemade hummus for my healthy people.

Not surprisingly, Bacon Bitch’s website (https://www.baconbitch.com/#bacon-bitch-miami-kitchen)

tells us all about their executive chef Jasmin Shoman, who “has decades of experience cooking with
world-renowned Chefs." No wonder they have unbelievably tasty croissants! Please promise me you'll
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 30 of 66

qsPpoor croissants; you'll be addicted, but you be the judge! Additionally, they have side dtshes,

0 ohNgaleww to pancakes. And of course, quality coffee and incredibly fruity cocktails, because i Is

earch}
brunch, after all.

The Service? Just Know, A Little Party Never Killed Nobody.

SHARE

cna, Daconbitch 2 oy :
mar econ Bitch View Profile

 

View More on Instagram

The amazing food offered pairs perfectly with the friendliest service I've ever experienced at a
restaurant. The people at Bacon Bitch are fun, exciting, and like to start random parties at any point. So
even if you did not have anything to celebrate anyways, you just might end up standing up to dance
right after biting into your food. The only way | can describe this, is that if you're having a bad day, this
place will most likely make your day a thousand times more fun.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 31 of 66

Gp'sPeonct Miami Brunch...What Are You Waiting For? oO
UNIVERSITY ——
(4 (/search)—
wue Daconbitch . vett
=" Bacon Bitch View Profile
SHARE

 

 

View More on Instagram

Bacon Bitch is definitely the right place to visit to start an exciting weekend, especially if you’re with a
group of friends and in the mood for something different. From my own experience, | can say that every
time | go, the food’s heavenly (and they always have extra syrup for you), the decoration has a nice
artistic touch that completely draws me in, and | always end up singing and dancing along to the
background music with my friends and the waitresses. Plus, there's nothing more convenient than
casual and affordable, good-quality food.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 32 of 66
ONaiting for? Go have a blast, enjoy a breathtaking croissant, catch some syrup actiom and
OW NIVARSETS bring all your friends along!

 

 

(/search)y—

 

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 33 of 66

Follow A Taste of Koko on Facebook >

 

A TASTE OF KOKO (hitps://www.atasteofkoko.com) Q

 

MIAMI
(HTTPS://WWW.ATASTEOFKOKO.COM/CATEGORY/TRAVEL-
GUIDES/VISIT-MIAM])

Weekend Guide To Things To
Do In South Beach

APRIL 14, 2019
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 34 of 66

  
 
  

Follow A Taste of K ok> Like 11K

hitps://www.atasteofkoko.com) Q

 

Miami - I’m back baby! I’ve traveled to Miami many

times in the past but it’s been awhile since I’ve been
back in Miami so I’ve missed this city so much. On
this trip, | wanted to stay in South Beach so | could
do a proper weekend guide to things to do in South
Beach with where to eat and where to stay in South

Beach.
Case 1:19-cv-22908-MGC Document18 Entered on FLSD Docket 09/06/2019

Cuban food is really good-and |asially tyidPodineepook >

here every time | visit Miami. Order the chicken and

rice with a coconut moffoTASTE OF KOKO (hitps://www.atasteofkoko.com)

Puerto Sagua - if you get late night cravings for
Cuban food like | do, go to Puerto Sagua. It’s been

open since 1962 and the food isn’t overpriced.

Las Olas Cafe - another Cuban restaurant! If you
see people standing on the sidewalk scarfing down
t4#8quettes and drinking cafecitos, you’re in the right

Shares

spot.

Bodega Taqueria y Tequila - this cute Mexican spot
serves tacos, burritos, and tequila. | loved the elotes
srd salsa & chips but was disappointed to see

K8shbrowns and cheese in my barbacoa taco.

La Sombra — | didn’t get a chance to here but | did

stop in to take a photo of this plant-filled restaurant.

Bacon Bitch — this cheeky restaurant caught my eye
while | was shopping between stores on Collins St.

The line was too long so | didn’t eat here.

Page 35 of 66
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 36 of 66

ok > Like 1iK

tps://www.atasteofkoko.com) Q

 

 

WHERE TO STAY IN SOUTH
BEACH
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 37 of 66

New limes

[ Piease read - version for embedded content ]

The 12 Best Dog-Friendly Restauranis in
Miami

LAINE DOSS, ELENA VIVAS, SARA FIEDELHOLTZ | AUGUST 26, 2019 | 9:00AM

Your dog isn't just a pet. He's your friend, your running buddy, and the keeper of your
deepest secrets. So why wouldn't you go out on the town with him?

Miami's tropical climate ensures there are plenty of places with outdoor spaces
perfect for you and Binky or Bosco to enjoy together. And though most restaurant
patios welcome you and your pooch, some go far beyond the complimentary water
bowl by catering to four-legged friends via special doggie dishes and freebies.

Here are the 12 best restaurants for you and your dog to have a wonderful outing
together.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 38 of 66

 

Bitches can lounge on the patio at Bacon Bitch. / Photo by Carlos Jose Gallego

Bacon Bitch

860 Collins Ave., Miami Beach

305-900-7371

baconbitch.com

Take your favorite little bitch to this restaurant and stretch out on the inviting patio.
Bacon Bitch is so dog-friendly it will customize any item on the menu for your pooch.
Why not share the Queen sandwich with your favorite furry diva? It's filled with egg,

Nueske's bacon, and sharp cheddar ($10). Or create a meal from the extra bitch menu,

with offerings such as strip steak ($2), one egg ($3), turkey sausage ($3), cheese ($2),
and bacon bits ($3).
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 39 of 66

South Florida hot spot serves up bacon with shock
value

Shireen Sandoval

International Bacon Day might be around the corner, but Deco found a spot where it's Bacon Day every day. We're checking out a spot
that serves up crispy goodness with a side of fun shock value.

Employee: “Hi, bitches!”

Wait a second.

What did they just say?

Employees: “Hey, bitches. Welcome to Bacon Bitch.”

That's one heck of a greeting at the South Florida hot spot where life's a bitch.

Chris Viso, Bacon Bitch: “Bacon Bitch is a fast casual restaurant right here on South Beach. We specialize in croissant breakfast
sandwiches.”

The name might make you do a double take, and their signature greeting...
Employees: “Hey, bitches!”

..will probably catch you off-guard the first time you walk in, but it’s all in good fun and meant to have you feeling like you're out with
your squad.

Jiselle Hernandez, customer: “You don’t really hear that unless you're with your friends, so to have complete strangers do it to you, it's
just, like, it’s exciting. It honestly feels like I’m coming in to see my best friends. They're so welcoming”

The restaurant also believes that intent matters, which is why the staff is taking the word back.
Chris Viso: “We love energy. We're big on empowering people using the bitch word.”

Employee: "We're just taking the word bitch, turning it around, making something positive out of something negative. We make our
customers feel really comfortable, and that's basically what it's all about”

You go girls!
Now that that's covered, let's talk about the b-word.
Bacon, of course!

As you probably guess from the name, pretty much everything here on the menu has tons and tons of it.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 40 of 66

Chris Viso: ‘The texture of the bacon is actually really unique, so the outside is real crispy, and the inside is real, real juicy, so when you
bite into it, you get the best of both worlds.’

Yum!
One of their most popular sandwiches is the Queens, which has bacon, eggs and cheddar cheese.
There's also the Cuban, which puts a new spin on a Miami classic by adding chicharrons, red cabbage, and — you guessed it — bacon.

Jiselle Hernandez: ‘I actually really like the Cuban, so | will have cravings, and I will actually drive up here from Fort Lauderdale just to
fulfill it”

Elizabeth Navarro, customer: ‘I think this place is awesome. First of all, 1love bacon, so it's delicious, plus the drinks and I'm with my
girls, so it's good. It's great”

FOR MORE INFO:

Bacon Bitch

860 Collins Ave.
Miami Beach, FL 33139
305-900-7371
www.baconbitch.com/

Copyright 2019 Sunbeam Television Corp. All rights reserved. This material may not be published, broadcast, rewritien or redistributed.

More from WSVN.com

Missing teen found after 3
family members shot in

Miami Gardens
WSVN 7NEWS Miami/Ft. Lauderdale

Sponsored Content

[Pics] Husky Runs Off Into
Weeds But Returns With This

In Her Mouth
Creative Timez

Flooded roads, overcast skies
in Broward, Palm Beach

ahead of Dorian
WSVN 7NEWS Miami/Ft. Lauderdale

[Photos] Teen Offers to Carry
Man's Groceries for Food,
Had No Idea Who He Was
Finance 101

‘A big deal’: Florida braces

for Hurricane Dorian
WSVN 7NEWS Miami/Ft. Lauderdale

[Photos] A Girl Was Found
Frozen After 500 Years And
She Looked Like She Was
Scribol-

Video shows newborn baby
being dropped at Arizona
hospital

WSVN 7NEWS Miami/Ft. Lauderdale

[Photos] Wife Reads Out Her
Husband's Affair Texts
Instead of Her Vows During
Coolimba

§ arrested after months-long
undercover operation in

Hollywood
WSVN 7NEWS Miami/Ft. Lauderdale

[Pics] She Was Ignored by
Her Biological Mom only To
Find out Her Sister Is One of
Direct Expose .
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 41 of 66

Advertisement

Miami (/news/miami)

Get these 3 trending Miami Beach restaurants on your
radar today

Malibu Farm | Bacon Bitch | Mercato Della Pescheria

 

 

 

Read Next:

January 9, 2019

As fans of cronuts and cake pops can attest, food trends come and go. So how can

 

 

wens tall warhtah tantan ann teanAince tndareD
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 42 of 66

O900AEDCI17CC)

Open since last April, this breakfast and brunch spot, which offers sandwiches,
burgers and more, is trending compared to other businesses categorized as
"Breakfast & Brunch" on Yelp.

Citywide, breakfast and brunch spots saw review counts increase by a median of 3.4
percent over the past month, but Malibu Farm (https://www.yelp.com/biz/malibu-
farm-miami-beach-2?utm_campaign=NULL%2C&utm_medium=3b4c1d20-9476-
4bb7-8ba7-0900aedcl7cc) saw an 18.5 percent increase, maintaining a mixed 3.5-star
rating throughout.

Located at 4525 Collins Ave. within the Nobu Eden Roc Hotel in Oceanfront, Malibu
Farm's standout items include the organic tofu scramble, avocado and ricotta pizza
(expect a kick from the jalapefio on top) and soy ginger skirt steak with broccoli
mashed potatoes and pickled vegetables. Yelpers also rave about its signature
watermelon cocktail with cucumber-infused vodka, watermelon, lime and basil.
(View the spot's full offerings here (https: //redirect.hoodline.com/https-www-
edenrochotaaeb17a4b297e5cbe2f6?
utm_source=story&utm_medium=web&utm_campaign=stories).)

Bacon Bitch

PHOTO: BACON BITCH/YELP (HTTPS: //YELP.COM/BIZ_ PHOTOS/BACON-BITCH-MIAMI-
BEACH?UTM_CAMPAIGN=NULL%2C&UTM _ MEDIUM=3B4C1D20-9476-4BB7-8BA7-
O0900AEDC17CC)

Whether or not you've been hearing buzz about Flamingo Lummus's Bacon Bitch
(https: //www.yelp.com /biz/bacon-bitch-miami-beach?
utm_campaign=NULL%2C&utm_medium=3b4cld20-9476-4bb7-8ba7-
0900aedcl7cc), the well-established New American and breakfast and brunch spot,
which offers sandwiches and more, is a hot topic according to Yelp review data.

 

 

4
~y

While businesses categorizBerdNeymerican (New)" on Yelp increased their review
count by a median of 2.3 percent over the past month, Bacon Bitch bagged a 10.9

 

AVL
VVC Vv iD VV LULELEAL ULACLUL LALELUEL CALtin-y ARACALELUCLIL LILLE, et oweii1iu swvud was

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 43 of 66

rating.

Open at 860 Collins Ave. since 2017, Bacon Bitch offers bacon inspired sandwiches,
like its signature American Bitch (a croissant filled with egg, hash browns, bacon and
syrup) and the Country Bitch, which might remind you of Thanksgiving dinner (it
comes with egg and turkey sausage, topped with sausage gravy). (See the menu here
(https: //redirect.hoodline.com/https-www-baconbitcha67638024f6a5ce21ed1?
utm_source=story&utm_medium=web&utm_campaign=stories).)

Mercato Della Pescheria

PHOTO: KARINA G./YELP (HTTPS: // WWW.YELP.COM/BIZ_PHOTOS/MERCATO-DELLA-
PESCHERIA-MIAMI-BEACH-MIAMI-BEACH?
UTM_CAMPAIGN=NULL%2C&UTM _ MEDIUM=3B4C1D20-9476-4BB7-8BA7-0900AEDC17CC)

Flamingo Lummus's Mercato Della Pescheria (https: //www.yelp.com/biz/mercato-
della-pescheria~miami-beach-miami-beach?
utm_campaign=NULL%2C&utm_medium=3b4cld20-9476-4bb7-8ba7-
0900aedcl7cc) is also making waves. Open since 2017 at 412 Espanola Way, the Italian
and Mediterranean spot, which offers seafood and more, has seen a 10.9 percent
bump in reviews over the last month, compared to a median review increase of 3.6
percent for all businesses tagged "Seafood" on Yelp.

Mercato Della Pescheria has four stations offering a variety of fish, meats, imported
cheeses and house-made pastas. Menu highlights include the coal-smoked chicken
salad, half Maine lobster linguini and seared ahi tuna with a whole grain mustard red
wine reduction. You'll find fine whiskeys, cognacs and other cocktails. Over the past
month, it's maintained a solid 4.5-star rating among Yelpers. (Check out the full

menu here (https: //redirect.hoodline.com/http-www-
mercatodelle4c31f8ae898a92345e9?
utm_source=story&utm_medium=web&utm_campaign=stories).)

 

 

oe
x

Read Next:

by Hoodline @Hoodline (hitp: /twitter.com/Hoodline)

 

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 44 of 66

ADVERTISEMENT

Travel & Outdoors >» Weekend Getaways

   

 

BAILAMOS

Strip, Pose, Slay: My Celebrity Week in Miami
Doing it up in South Florida.

By Alexis Vargas * 8/17/2018 at 8:00am

 

    

 

 
 

 

Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 45 of 66

  

baconbitch
Bacon Bitch

BACON BITCH

View Profile

 

Houstonia. =
Houstonia.

cn ett

View More on Instagram

130 likes
baconbitch

Mexico Ef vs Sweden & ! #DrunkBitch #Mundial #WorldCup #BaconBitch
view all comments

Add a comment... |
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 46 of 66

Eat

Lunch in Downtown Miami at Giardino Gourmet Salads, where greens doused in spicy peanut dressing
and fresh veggies go down easy with a Colada—a really strong Cuban coffee you take in a small shot

glass. giardinosalads.com

There’s an ice cream shop in Little Havana dedicated to one of our Latin idols, Celia Cruz. It’s called
Azucar—named after one of her famous songs—and the dulce con leche cone left manchas (stains) on my

shirt. It was delicious. azucaricecream.com
Peruvian food at La Luicadora. licuadorarestaurant.com

Bacon Bitch, nestled in South Beach’s The Franklin hotel, is flooded with the b*tch word from décor to
the menu, including the delicious Country B*tch croissant. There’s also an addictive colada. I left with a
little souvenir, a shirt from Bacon Bitch that reads Boss Bitch, because in the end, that’s exactly how I felt

leaving Miami, and I hope you do too. baconbitch.com

Filed under
Florida, Travel, South Beach, Miami

Show Comments

ADVERTISEMENT

Related Content

WEEKEND GETAWAYS
Two Days in Fort Lauderdale Does the Trick
08/20/2019 * By Jayme Lamm

PARTY IN THE CITY WHERE THE HEAT IS ON
How to Spend 24 Hours in Miami
03/26/2019 * By Bill Wiatrak

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 47 of 66

YP Of

48 Hour Foodie Guide to Miami

posted by MEGHAN Y. on JANUARY 29, 2018 // #0 comments »

Please note this post contains affiliate links.

Whether you are heading to Miami to head out on a cruise or for a beach vacay, my 48
Hour Foodie Guide to Miami is your go-to for the ultimate in everything food and drink.

Forget the over-the-top posh spots, this is the side of Miami you need to see.
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 48 of 66

Bacon Bitch (South Beach)

When you are hungover and starving or perhaps it's the middle of the night, you
head to Bacon Bitch for a snack and some espresso. Yes the name is odd but dang
| was surprised by how much | LOVED their flavors. After having a disappointing
Cubano experience the day before, | was delighted to find the satisfaction | was
looking for here. Though not a traditional cubano, their version in a croissant with
pickled red onion and other delicious toppings such as chicharrones, | was bursting
with happiness and a full belly once | stuffed the entire thing into my face. The
filling portion for each is 100% worth the $$ better than any of those so-called

cheap breakfasts or brunches you get on Ocean Drive that are a TOTAL rip off!

Recommended Sips: Espresso, obviously. Nothing else. Just this.

Recommended Bites: Cuban Bitch was just WOW the mojo pork was insane with

chicharrones pickled red onion pickles and bacon that melted in my mouth, Philly

Bitch with dreamy spicy nacho cheese and juicy steak with onions and mushrooms
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 49 of 66

NIKKI A HALL v TRAVEL FASHION FINANCE BEAUTY LIFE

INSTAGRAM OUTFITS v f v ®@® 70 @ Q

 
     

:
\

5
v

 

THE FASHIONABLE ACCOUNTANT

NIKKEA HALL v TRAVEL FASHION FINANCE BEAUTY LIFE

INSTAGRAM OUTFITS v

 

11 MIAMI BEACH INSTAGRAMMABLE ! OCATIONS

JULY 29, 2018 in pests, travel Newsletter

 

Your email address

 

 

SIGN UP

 

 

 

 

 

 

NIKKEA HALL v TRAVEL FASHION FINANCE BEAUTY LIFE

‘ INSTAGRAM OUTFITS ~ f wv ® 9 @2@ Qa
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 50 of 66

This cute breakfast and lunch spot was cady corner from our hotel and

has two really awesome neon signs for photos. | didn’t take any there

during this trip, but my girlfriends Kat & Nubiana did. They said that the
food and drinks were really good there too.

 

Kat @deliriumstyle

NIKKI A HALL v TRAVEL FASHION FINANCE BEAUTY LIFE

INSTAGRAM OUTFITS v f v ® 0 @ Q
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 51 of 66

 

Nublana @nubianaliloutee

NIKKI A HALL v TRAVEL FASHION FINANCE BEAUTY LIFE

INSTAGRAM OUTFITS v f v ® °° @ Qa
Baf/ti DERE E

went EEniered Or—gFLSD Docket 09/06/2019 Page 52 of 66
8

   

Case 1:19-cv-22908-MGC Doc

  

California Secretary of State

Electronic Filing Secretary of State
State of California

 

 

LLC Registration — Articles of Organization

 

Entity Name: Breakfast Bitch LLC

Entity (File) Number: 201914810347
File Date: 05/22/2019
Entity Type: Domestic LLC
Jurisdiction: California

 

Detailed Filing Information

1. Entity Name: Breakfast Bitch LLC

2. BusinessAddresses:
a. Initial Street Address of 3825 Fifth Avenue
Designated Office in California: San Diego, California 92103
United States .

b. Initial Mailing Address: 3825 Fifth Avenue
San Diego, California 92103
United States

3. Agent for Service of Process: LEGALZOOM.COM, INC. (C2967349)
4. Management Structure: More than One Manager
5. Purpose Statement: The purpose ofthe limited liability

company is to engage in any lawful act
or activity for which a limited liability
company may be organized underthe
California Revised Uniform Limited
Liability Company Act.

Electronic Signature:

The organizer affirms the information contained herein is true and correct.
By: Cheyenne Moseley, Assistant
Secretary of Legaizoom.com, Inc.

Organizer:

Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
Case 1:19-cv-22908-MGC Document 18 Pe Lmcket 09/06/2019 Page 53 of 66

  

 
19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 54 of 66

Case 1

 

 

Great service and fun atmosphere. Definitely, coming back
with some friends. Highly recommend the pineapple
mimosa.

 
Case 1:19-cv-22908-MGC Docu a{BPTEC ONBFLSD Docket 09/06/2019 Page 55 of 66

  

 

| 74/2019

It's In a great location and got a lot of business their
opening day but | didn't really like it. The staff was nice but
they called me bitch over and over and over again. It was
too much. The food also needed seasoning.

 

Qusetuls  € Funny 4 | te Cool t ! [ae

   

 

| ey a ea te W1Tf2019

Wow! From the cry of “welcome bitches" as | entered to
the avocado toast, this place is as fun { and good!) as it
sounds! My new fav breakfast spot in Hillcrest! Adrian
Was especially friendly and helpful. .

© Useful ' © Funny | ci Cool 1 feat

 
Case 1:19-cv-22908-MGC Docume

Inspired by the classic New York breakfast
dish - BaconEgg & Cheese, Bacon Bitch
seamlessly combines this comfort food staple
with the highest quality ingredients and
freshly baked artisanal croissants for a truly
delectable and one of a kind meal. No longer
just for breakfast, bacon is more than food...
it's an experience.

Bacon Bitch. Come get a mouthful.

 

D Docket 09/06/2019 Page 56 of 66

Hours: Friday- Monday 8:00am- 3:00am
Tuesday-Wednesday 8:00am-6:00pm

Location: 860 Collins Ave, Miami Beach, FL
33139

Phone: 305-900-7371
Case 1:19-cv-22908-MGC Document M Docket 09/06/2019 Page 57 of 66

 

Brea kfast Bitch

Situated in the Hillcrest district of San Diego, Breakfast Bitch
is an exciting new concept founded in 2019 by Tracii &
Derrell Hutsona.

Inspired by one of the hippest spots in Miami, Breakfast
Bitch seamlessly combines comfort food and make your
own pancakes at your table with a hip and playful vibe
featuring a one of a kind experience. Come thru for good
food, good fun, and good music.

Stop in and Griddle your own pancakes, choose a
yummy croissant breakfast sandwich or something light
from our Skinny Bitch menu. Hang our at Tipsy Bitch for
BOTTOMLESS Mimosas or try our signature Bloody Bitch.

Monday-Saturday 8AM-2PM
Sunday DJ Brunch 8AM-3:30PM
After Hours Friday and Saturday 1AM-4AM

Stay Tuned for our GRAND OPENING in SPRING 2019
Docket 09/06/2019 Page 58 of 66

 

C=
Oo.
Ee.
c
oO
oO
QO.
Oo.
O°
=
CO |
oO.
Oo :
D
N |
>
°
Oo.
od:
-
QD.
oO
OO.

BOG Perr mrmrrnrnenrnennnnnn BEY
ag Coenen nd ey
SE remeron FE A
ay enn, oF Baas

HOLIG
4S4a400

eeir (omy Spo nog) qotg a0 py
BEL Cr rr nero gag peop
og rte eg eno
wee “(RSA BAY A nddeaata) gag Ang
perk” aeeerenes wenn nresmes POPE TEAS EESIEE SG

“HOLI gd ASdiL

Gg tpe eee ope RSMay PAR qed
Way g Serer eee garmin MERI
QS een cero tier: ag delineate
coro Loe ceded Ck URE 8, etna wo ey e mZurscy
GPT heer eee mere ature nenee eonsmnee ee OS EIEN, JO MCG

HOLIG ALSHIHL

“409 v.

gyi ge tne eeieeatnteneesmeeasgaepy
Byrn ay Rg eg
Qype tenet meg
derge me AON att
remo 8 pipe
errrcee * avenues SEB SEES ARIE
mre ey oddag pay pasoy
BOR rasan]
Bygone yang dung

HOLIG VaLxXs

SrqepDyoy wolyp Tike "yam aan)
GPG CO rte rere nrenemnnnn nn digger
lus oar p Be va acgyeeey)

BET rrr opel
wanpanunps ‘aatlers pow ae suendl yemsearuewy
‘aguas “arg aap” fe soared)
CON CO Sages ue med aqERy

Re ici Wa
HO al nal | OS's ye

a a |

 

Chonda peat apogee

eo ey atieeD on pepe” premedd)
HEE Coen ndiog pagan
eeu que pepe

aie pals Blown Lopany Ip sarge SDP
AKT renner nek AY, URLS,
fe Aypag Me

S02 pep AO epee Toe)
GE nese Bp OTE

HOLIG
ANNIMS

aos agqon.y diy aneqosoq 5
OO“ WESHOL > Mose yy 31eI020q)
aes rou qeupy Kiley
DA mene mressory SME A

HOLIG ACIS

ern as op duns s dog
(280 Dango deep

opel “wanomueps tet epogepned yoogn kage)
GPE | Cr rere cere ULE
ieaaye daapy p IRS wea 2 vera)
irl t {6 Shrek cee RMENY CASON: SOdLURENLCK.SAAADON. eM! aAppoony
Sie apomayide “onpepes mpeg

etgy MG ORs mpouny lamgeT)
BEG ee rere mene one se
Aiinais oy

S22 ‘wos 6 oysINAL SUMO gQYSERT)
Tp nen ELEY FE
le yp sovsies doyeny ceed alleen)
BEBE nn OS

HOLIG NIV

 

 
ereqaon FLSD Docket 09/06/2019 Page 59 of 66

Case 1:19-cv-22908-MGC D CUMERY HB

COUNTRY $10
Sausage Gravy, Turkey sausage,

Egg

AMERICAN $12

Hash Brown, Nueske's Bacon, Egg,
Syrup

FANCY $15

Lobster, Nueske's Bacon Bits, Dijon
Hollandaise, Spinach, Egg

   

MAIN BITCH

QUEENS $10

Nueske's Bacon, Egg, Sharp
Cheddar Cheese

FIT $10

Hummus, Tomato, Cucumber, Egg
White

BACON $10

Nueske’s Bacon, Tomato Jam,
Spinach, texas Pete Aioli

CUBAN $12

Chicharrons, Mojo Pork, Swiss,
Nueske's Bacon, Pickles, Pickled
Red Cabbage, Yellow mustard

PHILLY $13
Strip Steak, Portobello Mushrooms
Caramelized onions, Spicy Nacho

Cheese

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 60 of 66

 

SIDE BITCH

FRESH $4 SWEET $6 FLUFFY $7
Fresh Croissants Croissant, chocolate Ganache, Homemade Silver Dollar Buttermilk

Nueske's Bacon Bits Pancakes, candied bacon Bits,

S

ORIGINAL $8 YPp
Nueske’s bacon, Syrup CHUNKY $5

Homemade Chocolate Chunk

Cookie With Gooey Chocolat
CRISPY $5 om NOC ONNS

Center
Seasoned Homemade Hash Brown
19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 61 of 66

Case 1

Strip steak
Tomato Jam

Lobster

$4

$2

$6

EXTRA BITCH

Egg/Egg White

Mojo Pork

Turkey Sausage

$2

$3

$3

Bacon Bits

Cheese

 

$3

$2
 

HUSTLE

Mango daiquiri, mango rum, Three
Olives pomegranate vodka & fresh
pomegranate.

 

$12

 
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 63 of 66

  

LUST $12

Strawberry daiquiri, Dobel tequila,
passion fruit rum, fresh stawberry &
lime.

EMOTIONS $12

Mango & watermelon daiquiri, rum,
Three Olives raspberry vodka, fresh
strawberry.

 

FAME $12

Pina colada daiquiri, coconut rum,
Three Olives pineapple vodka, cherry &
coconut flakes.

 

PLEASURE $12

Mango & pina colada daiquiri, rum,
coconut rum, coconut flakes & fresh
strawberry.

  
Case 1:19-cv-22908-MGC Document 18 Entered on FLSD Docket 09/06/2019 Page 64 of 66

MIMOSA
Orange juice & champagne.

 

$12

 

MIAMI $12

Strawberry & pifia.colada daiquiri, Three
Olives pomegranate vodka, guava rum,
coconut flakes & fresh pomegranate.

 
  
 

Case 1:19-cv-22908-MGC Docu

 

 

Breakfast Bitch

 

 

     

 

ee

   
 

oo

  
C Comments VW

 

@ xock_ @breakfastbitch_sd will do.
19w ‘like Reply

“he taylereatseverything < ©
19w ‘like Reply

“4 amandavsfood Are y'all related to bacon
y bitch in Miami??

18W 1 Hike Reply

 

@® amandavsfood @breakfastbitch_sd
| need to stop by soon!

18w Reply

ew breakfastbitch_sd @amandavsfood
“Bacon Bitch Miami is awesome! We
are not related to them at all!

Tow Reply

sandiego_diary €3 @& ©
18w Reply

 

Gx brinsonbarbara59 @breakfastbitch_sd

€ will make a visit Friday especially 4 9
bloody mary. Hope taste as 's good as
photo looks & @&

13w Reply

 
